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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF NEW YORK


    THE AMERICAN AUTOMOBILE
    ASSOCIATION, INC.,

                                Plaintiff,

        v.                                                  Case No. ________________

    AAA LOGISTICS, INC.,

                                Defendant.


                                             COMPLAINT
                 Plaintiff, The American Automobile Association, Inc. (“AAA”), brings this
Complaint for injunctive relief, monetary damages, and other relief against Defendant AAA
Logistics, Inc. AAA alleges as follows:

                                   NATURE OF THE ACTION
         1.      This is an action for trademark infringement, false designation of origin, and

unfair competition in violation of Sections 32 and 43(a) of the Federal Trademark Act (the
“Lanham Act”), 15 U.S.C. §§ 1114 and 1125(a), and New York common law; for trademark
dilution in violation of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c) and New York
state law, New York General Business Law § 360(l); and for deceptive trade practices in
violation of the New York Consumer Protection Act, New York General Business Law § 349.
AAA seeks injunctive relief, monetary damages, restitution, and all other appropriate relief,
including an order enjoining Defendant from using AAA’s trademarks in its business name or in
its advertising and marketing materials.
         2.      This action arises out of Defendant’s knowing and willful violation of AAA’s
rights in its famous and distinctive AAA trademarks (collectively, the “AAA Marks”).

Specifically, Defendant has used and continues to use the AAA Marks in connection with a
business offering trucking and transportation services, AAA Logistics, without authorization and


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with full knowledge that it is not authorized to use those marks.
       3.      Defendant’s unlawful use of the AAA Marks is likely to cause—and already may
have caused—consumers to believe, erroneously, that Defendant is affiliated or associated with
or has been endorsed by AAA, jeopardizing the goodwill and tarnishing the reputation associated
with AAA’s Marks, confusing those consumers seeking the reliable and dependable services of
AAA, and unjustly enriching Defendant.
       4.      Defendant’s unlawful acts have lessened the capacity of AAA’s famous Marks to
identify and distinguish the products and services AAA provides under those Marks and thus
have diluted the distinctive quality of the Marks.
       5.      In addition, on information and belief, Defendant has profited from its
unauthorized use of the AAA Marks and has made unauthorized commercial use of the Marks in
New York to its benefit and to the detriment of AAA and of consumers, in violation of the laws
set forth above.

                                            PARTIES
       6.      Plaintiff AAA is a not-for-profit, non-stock corporation organized and existing
under the laws of Connecticut, with its principal place of business in Heathrow, Florida. AAA

provides its more than 50 million members with products and services throughout the United
States and Canada, including in New York. AAA’s goods and services include travel and
automobile-related products and services, financial advice, insurance and warranty coverage, and
discounts. AAA provides its products and services through local AAA member clubs, including
AAA Western & Central New York, which covers 25 counties in New York, including Monroe
County where AAA Logistics is located.
       7.      AAA Logistics is a business operating under the laws of New York, with a
principal place of business at 40 Edwards Deming Drive, Ste 1, Rochester, New York 14606.

                                JURISDICTION AND VENUE
       8.      This Court has subject matter jurisdiction under 15 U.S.C. §§ 1121 and 1125 and

under 28 U.S.C. §§ 1331 and 1338. This Court has jurisdiction over Plaintiff’s state law claims
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under 28 U.S.C. §§ 1338(b) and 1367(a), as well as under general principles of supplemental and
pendent jurisdiction.
        9.      Defendant is subject to personal jurisdiction within the Western District of New
York because Defendant is incorporated under New York law and maintains its principal place
of business in Rochester.
        10.     Venue is proper under 28 U.S.C. § 1391(b) and (c) because a substantial part of
the events or omissions giving rise to the claims occurred in this District and Defendant’s
principal place of business is in this District.

                             FACTS ENTITLING AAA TO RELIEF
        A.      AAA’s Widespread and Substantial Use of Its Registered AAA Marks
        11.     Since its founding over a century ago, AAA has enjoyed a reputation as one of the
world’s premier client service organizations. That reputation is based largely on the quality and
reliability of the products and services it offers through its AAA local clubs.
        12.     Although its original focus was on combating unfair automobile laws and
campaigning for better roads and more reliable vehicles, AAA quickly expanded its charter. It
established itself almost immediately as an advocate for travel safety and road improvement.

Today, AAA offers a broad range of products and services, including but also going beyond
automobiles and travel.
        13.     AAA has invested resources, including for advertising campaigns and
promotional efforts, to develop and foster the reputation, recognition, and goodwill associated
with its products and services.
        14.     AAA has used and continues to use the AAA Marks and logo designs in interstate
commerce to identify its products and services.
        15.     Only those businesses that are part of AAA’s network of approved service
providers are authorized to use or display the AAA Marks. Consequently, AAA members and
the public know that local businesses displaying AAA Marks are selected only if they maintain a
reputation for quality, integrity, and reliability.
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       16.     As a result of AAA’s provision of quality products and the continuous
advertising, promotion, and sale of products and services under the AAA Marks, those
trademarks have acquired value and fame in the United States, including in New York, and
throughout the world. Specifically, the AAA Marks are widely recognized by consumers in this
country and abroad and have acquired enormous goodwill as trademarks identifying high-quality
and reliable products and services; indeed, the AAA Marks are distinctive such that consumers
recognize that goods and services marketed under the AAA Marks originate with, or are
approved or endorsed by, AAA and the AAA local clubs.
       17.     AAA and its local clubs have registered AAA-related domain names and maintain
Internet websites through which AAA Members and the general public may obtain information
and, in some cases, purchase or use products and services (the “AAA Websites”). The AAA
Websites were created and operate to attract members and customers, encourage their interest in
AAA and its local clubs, and offer products and services. Some of the services that AAA offers
on the AAA Websites are related to consumer relocation, including offering discounts on
automobile transport services. See https://wa.aaa.com/discounts/vehicle-transport-consumers-
relocation-services and https://wa.aaa.com/discounts/consumers-relocation-services.

       18.     AAA has also registered with the United States Patent and Trademark Office
(“USPTO”) more than 100 trademarks, including Marks that AAA has used since at least 1902,
in connection with the products and services offered to its members. The federal registrations
Defendant is violating include:
                  a. Reg. No. 829,265, for the AAA Mark, used in connection with goods and
                      services, including “providing emergency road service” and
                      “disseminating travel information and making travel arrangements”;
                  b. Reg. No. 2,158,654, for the AAA Mark & Design, used in connection with
                      goods and services, including “emergency road services” and “travel
                      agency services, namely, making reservations and booking for
                      transportation”; and
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                     c. Reg. No. 5,036,379, for the AAA Mark & Design, used in connection with
                        goods and services, including “emergency road side repair services” and
                        “travel agency services, namely, making reservations and booking for
                        transportation.”
Copies of the registration certificates for the above marks are available on the USPTO website:
http://www.uspto.gov.
        19.     Pursuant to 15 U.S.C. § 1057(b), the registration certificates for the AAA Marks,
including those marks identified above, constitute prima facie evidence of the validity of those
registrations, of AAA’s ownership of the trademarks set forth therein, and of AAA’s exclusive
right to use those trademarks in commerce and in connection with the products and services
specified in the registration certificates.

                B.      Defendant’s Unlawful Use of Plaintiff’s AAA Marks
        20.     AAA has never authorized Defendant to use its AAA Marks.
        21.     Nevertheless, Defendant has knowingly and willfully violated AAA’s rights in its
famous and distinctive AAA Marks by using in commerce the business name AAA Logistics and
a logo nearly identical to the AAA logo, as seen in the photo below, after Plaintiff’s AAA Marks

had become famous in New York, the United States, and abroad.




        22.     The AAA Logistics business was incorporated by the New York Department of
State Division of Corporations on April 15, 2014.
        23.     In or around June 2017, AAA learned that Defendant was using the business

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name AAA Logistics and the above logo to designate and advertise transportation services.
       24.     On June 27, 2017, AAA sent a letter by certified mail to Defendant’s principal
place of business, requesting that Defendant discontinue all use of the AAA Marks. This letter
was returned “not deliverable as addressed.”
       25.     On July 24, 2017 AAA sent a second letter by certified mail to Defendant’s
principal place of business, reiterating its request. This letter was returned as “unclaimed.”
       26.     On August 9, 2017, AAA sent copies of these two letters to Defendant’s email
address at <aaalogistics.ny@gmail.com>.
       27.     That same day, AAA received a response from Defendant via email agreeing to
bring the business into “compliance” and stating that it was “in the process [of] removing [the
AAA Marks] from [its] trucks.”
       28.     In reply that same day, AAA asked Defendant for an estimated timeframe for the
business to reach full compliance as well as photos of the business’s trucks once the AAA Marks
had been removed.
       29.     AAA received no response to this request.
       30.     On September 14, 2017, AAA called Defendant, whose representative told AAA

that the AAA Marks had been removed from Defendant’s trucks.
       31.     During this same telephone conversation, AAA again requested photos of the
business’s trucks as evidence of Defendant’s compliance.
       32.     Defendant agreed to provide such photos, but did not do so.
       33.     Over the following months, AAA continued to request evidence that Defendant
had in fact removed the AAA Marks from its trucks.
       34.     Defendant repeatedly promised to do so, but never provided such evidence.
       35.     In December 2017, AAA learned that contrary to Defendant’s claims,
Defendant’s trucks continue to display the AAA Marks.
       36.     Accordingly, on December 21, 2017, AAA sent a third letter by email to the
above email address and by certified mail, this time to 1499 Providence Drive, Webster, New
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York 14580, which, on information and belief, is the residence of Stepan Babchuk, who, on
information and belief, is the owner of Defendant. This letter informed Defendant that AAA was
aware of Defendant’s continued infringement and requested evidence that Defendant was taking
immediate steps to cease its infringement.
         37.    AAA received confirmation that this letter was successfully delivered, but has
received no response from Defendant.
         38.    At the time Defendant’s infringing use of the AAA Marks began and at all times
afterward, Defendant has known, or had reason to know, of AAA’s rights in the AAA Mark, and
has at all times known, or had reason to know, that those marks are famous and valuable.
         39.    On information and belief, Defendant knowingly and for profit engaged in the
infringing use of the AAA Marks to attract consumers, knowing that consumers would likely
believe, incorrectly, that use of the AAA Marks signifies that Defendant’s business is sponsored
or endorsed by, or associated or affiliated with, AAA.
         40.    Defendant’s infringing use has damaged, and will continue to damage, the
reputation, recognition, and goodwill associated with the famous and distinctive AAA Marks.
         41.    Defendant’s infringing use has lessened, and will continue to lessen, the capacity

of Plaintiff’s AAA Marks to identify and distinguish the products and services provided or
endorsed by, or affiliated with, AAA and, thus, dilute the distinctive quality of Plaintiff’s AAA
Marks.
         42.    Further, on information and belief, Defendant’s infringing use has been and
continues to be of commercial value to Defendant.
         43.    For the foregoing reasons, Defendant’s infringing use has caused, and will likely
continue to cause, injury to AAA and to the goodwill and value of its AAA Marks.

                                            COUNT I
                             (Federal Trademark Infringement in
                           Violation of Section 32 of the Lanham Act)
         44.    AAA incorporates by reference all of the preceding paragraphs.


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        45.     Defendant’s infringing use violates Section 32 of the Lanham Act, 15 U.S.C.
§ 1114, because it constitutes willful and deliberate use in commerce of reproductions, copies,
and/or colorable imitations of AAA’s federally registered AAA Marks in connection with the
sale, offering for sale, distribution, and advertising of Defendant’s services in a manner likely to
cause confusion, mistake, and deception.
        46.     Defendant’s unlawful conduct as set forth herein has been and continues to be
willful, deliberate, and in bad faith.
        47.     These violations have irreparably damaged AAA, and it has no adequate remedy
at law. Unless enjoined, Defendant will continue the infringing use, further injuring AAA and
confusing the public.
        48.     Defendant has received revenues and profits as a result of its infringing use, to
which Defendant is not entitled, and AAA has also suffered damages as a result of the infringing
use, for which Defendant is responsible.

                                          COUNT II
               (Federal False Designation of Origin and Unfair Competition in
                        Violation of Section 43(a) of the Lanham Act)
        49.     AAA incorporates by reference all of the preceding paragraphs.
        50.     Defendant’s infringing use violates Section 43(a) of the Lanham Act, 15 U.S.C.
§ 1125(a). Defendant has willfully and deliberately used in commerce words, terms, names,

and/or false designations of origin that have caused confusion and mistake as to the origin,
sponsorship, or approval by AAA of services promoted by Defendant. This conduct constitutes
unfair competition and infringement of Plaintiff’s AAA Marks.
        51.     Defendant’s unlawful conduct as set forth herein has been and continues to be
willful, deliberate, and in bad faith.
        52.     Defendant’s violation of this statute has caused and will continue to cause
irreparable harm to AAA, for which AAA has no adequate remedy at law. Unless enjoined,
Defendant will continue the infringing use, further injuring AAA and confusing the public.


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         53.    Defendant has received revenues and profits as a result of its infringing use, to
which Defendant is not entitled, and AAA has also suffered damages as a result of the infringing
use, for which Defendant is responsible.

                                           COUNT III
                                 (Federal Trademark Dilution in
                          Violation of Section 43(c) of the Lanham Act)
         54.    AAA incorporates by reference all of the preceding paragraphs.
         55.    Defendant’s infringing use violates Section 43(c) of the Lanham Act,
15 U.S.C. § 1125(c), because such use, which commenced after Plaintiff’s AAA Marks became

famous, has diluted and continues to dilute the AAA Marks by impairing the ability of the AAA
Marks to serve as unique identifiers and by tarnishing the good reputation associated with the
AAA Marks.
         56.    Defendant’s unlawful conduct as set forth herein has been and continues to be
willful, deliberate, and in bad faith.
         57.    Defendant’s violation of this statute has caused and will continue to cause
irreparable damage to AAA, for which AAA has no adequate remedy at law. Unless enjoined,
Defendant will continue the infringing use, further injuring AAA and confusing the public.
         58.    Defendant has received revenues and profits as a result of its infringing use, to
which Defendant is not entitled, and AAA has also suffered damages as a result of the infringing

use, for which Defendant is responsible.

                                        COUNT V
                   (Trademark Dilution Under N.Y. Gen. Bus. Law § 360(l))
         59.    AAA incorporates by reference all of the preceding paragraphs.
         60.    Defendant’s infringing use violates New York General Business Law Section
360(l), because such use, which commenced after Plaintiff’s AAA Marks became famous, has
diluted and continues to dilute the AAA Marks by impairing the ability of the AAA Marks to
serve as unique identifiers and by tarnishing the good reputation associated with the AAA
Marks.

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        61.     Defendant’s unlawful conduct as set forth herein has been and continues to be
willful, deliberate, and in bad faith.
        62.     Defendant’s unlawful conduct has and will continue to cause irreparable damage
to AAA, for which AAA has no adequate remedy at law. Unless enjoined, Defendant will
continue the conduct, further injuring AAA and confusing the public.
        63.     Defendant has received revenues and profits as a result of its unlawful conduct, to
which Defendant is not entitled, and AAA has also suffered damages as a result of such unlawful
conduct, for which Defendant is responsible.

                                     COUNT VI
  (Violation of the New York Consumer Protection Act Under N.Y. Gen. Bus. Law § 349)
        64.     AAA incorporates by reference all of the preceding paragraphs.
        65.     Defendant’s infringing use violates the New York Consumer Protection Act, New
York General Business Law Section 349, because it constitutes deceptive trade practices.
        66.     Defendant’s conduct is deceptive in violation of Section 349 because Defendant is
willfully and deliberately misrepresenting to the public that its business is approved or endorsed
by, or are otherwise affiliated with, AAA, when in fact it is not. This conduct is likely to
confuse, and may have already confused, the public as to whether Defendant’s business is
approved or endorsed by, or are otherwise affiliated with, AAA. As a direct and proximate result
of Defendant’s deceptive trade practices, consumers may have mistakenly believed, and will
likely continue to believe, that Defendant’s business is approved or endorsed by, or otherwise
affiliated with, AAA.
        67.     Defendant’s conduct is unlawful in violation of Section 349 because it violates
Sections 32, 43(a), and 43(c) of the Federal Trademark Act (“Lanham Act”), 15 U.S.C. § 1114,
1125(a) and (c), New York General Business Law Sections 360(l), and New York common law
as described above and below.
        68.     Defendant’s unlawful conduct as set forth herein has been and continues to be
willful, deliberate, and in bad faith.

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        69.     Defendant’s unlawful conduct has and will continue to cause irreparable damage
to AAA, for which AAA has no adequate remedy at law. Unless enjoined, Defendant will
continue the conduct, further injuring AAA and confusing the public.
        70.     Defendant has received revenues and profits as a result of its unlawful conduct, to
which Defendant is not entitled, and AAA has also suffered damages as a result of such unlawful
conduct, for which Defendant is responsible.

                                         COUNT VII
                       (Unfair Competition and Trademark Infringement
                                   Under Common Law)
        71.     AAA incorporates by reference all of the preceding paragraphs.
        72.     Defendant’s unauthorized use of the AAA Marks constitutes trademark
infringement and unfair competition under New York common law. AAA is the prior user of the
AAA Marks, and Defendant’s willful and deliberate use of the AAA Marks in commerce is
likely to cause, and may have already caused, confusion, mistake, and deception as to origin,
sponsorship, or approval by AAA.
        73.     Defendant’s unlawful conduct as set forth herein has been and continues to be
willful, deliberate, and in bad faith.
        74.     Defendant’s unlawful conduct has and will continue to cause irreparable damage
to AAA, for which AAA has no adequate remedy at law. Unless enjoined, Defendant will

continue the conduct, further injuring AAA and confusing the public.
        75.     Defendant has received revenues and profits as a result of its unlawful conduct, to
which Defendant is not entitled, and AAA has also suffered damages as a result of such unlawful
conduct, for which Defendant is responsible.

                                         PRAYER FOR RELIEF
                WHEREFORE, AAA respectfully seeks the following relief:
        1.      Enjoin and restrain Defendant, its agents, servants, employees, attorneys, and all
persons in active concert or participation with any of them, from engaging in any of the


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following acts:
                         a)     Using without the authorization of AAA any of AAA’s Marks,
       logos, and trade names, including, but not limited to, the designation “AAA” or any other
       name, logo, or Mark that includes the designation “AAA” or that is confusingly or
       deceptively similar to any of AAA’s Marks, logos, and trade names, either alone or in
       conjunction with other words or symbols, as a part of any trademark, service mark, logo,
       trade name, corporate name, assumed name, domain name, on or in relation to any goods
       or services sold or distributed by the Defendant, or in any other manner; and
                         b)     Using any combination of multiple letter “A’s” in any form or
       manner that would tend to identify or associate Defendant, its business, or its goods or
       services with AAA, including, without limitation, in the marketing, promotion,
       advertising, identification, sale or distribution of goods or services, or in any other
       manner;
       2.         Require Defendant, pursuant to 15 U.S.C. § 1118, to destroy and/or change all
literature, signs, labels, prints, packages, wrappers, containers, advertising materials, Internet
content, stationery, software, and any other items in its possession or control which contain the

infringing designations “AAA,” or any term confusingly similar to “AAA,” either alone or in
combination with other words or symbols and to destroy all plates, molds, matrices, masters, and
other means of making any of those infringing items;
       3.         Require Defendant to cancel or amend any business name, trade name, or
corporate registration or application that contains the AAA Marks, or any other confusingly
similar name, logo, or mark, including, but not limited to, registrations for AAA Logistics;
       4.         Require Defendant to file with the Court and to serve on AAA, within thirty (30)
days after entry of an injunction, a report in writing, under oath, setting forth in detail the manner
and form in which Defendant has complied with the injunction;
       5.         Require Defendant to pay AAA for all damages sustained as a result of
Defendant’s unlawful conduct described above, plus interest thereon, and require, with respect to
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damages resulting from infringement or dilution of the AAA Marks or from unfair competition
under the Lanham Act, that such damages be trebled pursuant to 15 U.S.C. § 1117;
       6.     Require Defendant to account for and pay to AAA all profits derived by
Defendant resulting from its use of the AAA Marks pursuant to 15 U.S.C. § 1117;
       7.     Award AAA the costs of this suit and its reasonable attorneys’ fees in accordance
with 15 U.S.C. § 1117 and New York law;
       8.     Award prejudgment interest on all liquidated sums; and
       9.     Award such other and further relief as the Court deems just and proper.


                                           Respectfully submitted,


January 12, 2018                           __s/ Robert J. Fluskey, Jr._____________
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